                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

 BRANDON L. WRIGHT,                           )
                                              )      Case No. 1:21-cv-236
             Plaintiff,                       )
                                              )      Judge Travis R. McDonough
 v.                                           )
                                              )      Magistrate Judge Christopher H. Steger
 SANDRA DONAGHY, STEPHEN D.                   )
 CRUMP, and RICHARD HUGHES,                   )
                                              )
             Defendants.                      )


                                   JUDGMENT ORDER


      For the reasons set forth in the memorandum opinion filed herewith:

      1. Plaintiff’s motion for leave to proceed in forma pauperis [Doc. 2] is GRANTED;

      2. Plaintiff is ASSESSED the civil filing fee of $350.00;

      3. The custodian of Plaintiff’s inmate trust account is DIRECTED to submit the filing
         fee to the Clerk in the manner set forth in the accompanying memorandum opinion;

      4. The Clerk is DIRECTED to provide a copy of the memorandum opinion and this order
         to the custodian of inmate accounts at the institution where Plaintiff is now confined
         and the Court’s financial deputy;

      5. Even liberally construing the complaint in favor of Plaintiff, it fails to state a claim
         upon which relief may be granted under 42 U.S.C. § 1983;

      6. Accordingly, this action is DISMISSED pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and
         1915A;

      7. Because the Court CERTIFIED in the memorandum opinion that any appeal from this
         order would not be taken in good faith, should Plaintiff file a notice of appeal, he is
         DENIED leave to appeal in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R. App.
         P. 24; and

      8. The Clerk is DIRECTED to close the file.




Case 1:21-cv-00236-TRM-CHS Document 5 Filed 10/13/21 Page 1 of 2 PageID #: 23
      SO ORDERED.

                                   /s/ Travis R. McDonough
                                   TRAVIS R. MCDONOUGH
                                   UNITED STATES DISTRICT JUDGE

ENTERED AS A JUDGMENT
   s/ LeAnna R. Wilson
  CLERK OF COURT




                                      2

Case 1:21-cv-00236-TRM-CHS Document 5 Filed 10/13/21 Page 2 of 2 PageID #: 24
